           Case 22-13060-elf                Doc 6       Filed 11/18/22 Entered 11/19/22 00:34:01                                      Desc Imaged
                                                       Certificate of Notice Page 1 of 3
                                                              United States Bankruptcy Court
                                                              Eastern District of Pennsylvania
In re:                                                                                                                 Case No. 22-13060-elf
ABC Capital Investment, LLC                                                                                            Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0313-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Nov 16, 2022                                               Form ID: 309C                                                              Total Noticed: 7
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 18, 2022:
Recip ID                 Recipient Name and Address
db                     + ABC Capital Investment, LLC, 100 South Juniper Street, 3rd Floor, Philadelphia, PA 19107-1316
14735632               + Cheetah NR LLC, c/o Jeffrey Katz, Esq., KBK Law Group, 100 South Broad Street, Ste. 1208, Philadelphia, PA 19110-1015

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: ppeters@thepetersfirm.com
                                                                                        Nov 16 2022 23:57:00      PAUL S. PETERS, III, The Peters Firm, PLLC,
                                                                                                                  P.O. Box 11227, Elkins Park, PA 19027
tr                     + EDI: FGARYFSEITZ.COM
                                                                                        Nov 17 2022 05:03:00      GARY F. SEITZ, Gellert Scali Busenkell &
                                                                                                                  Brown LLC, 8 Penn Center, 1628 John F.
                                                                                                                  Kennedy Blvd, Suite 1901, Philadelphia, PA
                                                                                                                  19103-2113
smg                       Email/Text: megan.harper@phila.gov
                                                                                        Nov 16 2022 23:58:00      City of Philadelphia, City of Philadelphia Law
                                                                                                                  Dept., Tax Unit/Bankruptcy Dept, 1515 Arch
                                                                                                                  Street 15th Floor, Philadelphia, PA 19102-1595
smg                       EDI: PENNDEPTREV
                                                                                        Nov 17 2022 05:03:00      Pennsylvania Department of Revenue, Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
smg                       Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                                        Nov 16 2022 23:58:00      Pennsylvania Department of Revenue, Bankruptcy
                                                                                                                  Division, P.O. Box 280946, Harrisburg, PA
                                                                                                                  17128-0946
ust                    + Email/Text: ustpregion03.ph.ecf@usdoj.gov
                                                                                        Nov 16 2022 23:58:00      United States Trustee, Office of United States
                                                                                                                  Trustee, Robert N.C. Nix Federal Building, 900
                                                                                                                  Market Street, Suite 320, Philadelphia, PA
                                                                                                                  19107-4202

TOTAL: 6


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.
      Case 22-13060-elf   Doc 6    Filed 11/18/22 Entered 11/19/22 00:34:01   Desc Imaged
                                  Certificate of Notice Page 2 of 3
District/off: 0313-2                       User: admin                              Page 2 of 2
Date Rcvd: Nov 16, 2022                    Form ID: 309C                           Total Noticed: 7

Date: Nov 18, 2022                   Signature:    /s/Gustava Winters
      Case 22-13060-elf                         Doc 6        Filed 11/18/22 Entered 11/19/22 00:34:01                                                    Desc Imaged
                                                            Certificate of Notice Page 3 of 3
Information to identify the case:
Debtor
               ABC Capital Investment, LLC                                                      EIN:   27−4738221
               Name

United States Bankruptcy Court       Eastern District of Pennsylvania                           Date case filed for chapter:          7    11/15/22

Case number:        22−13060−elf
Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             10/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        ABC Capital Investment, LLC

2. All other names used in the
   last 8 years
3. Address                                   100 South Juniper Street, 3rd Floor
                                             Philadelphia, PA 19107

4. Debtor's attorney                         PAUL S. PETERS III                                                   Contact phone 215−291−2944
                                             The Peters Firm, PLLC
    Name and address                         P.O. Box 11227                                                       Email: ppeters@thepetersfirm.com
                                             Elkins Park, PA 19027

5. Bankruptcy trustee                        GARY F. SEITZ                                                        Contact phone 215−238−0011
                                             Gellert Scali Busenkell & Brown LLC
    Name and address                         8 Penn Center                                                        Email: gseitz@gsbblaw.com
                                             1628 John F. Kennedy Blvd
                                             Suite 1901
                                             Philadelphia, PA 19103

6. Bankruptcy clerk's office                 900 Market Street                                                     Hours open:
                                             Suite 400                                                             Philadelphia Office −− 9:00 A.M. to 4:00
    Documents in this case may be            Philadelphia, PA 19107                                                P.M; Reading Office −− 9:00 A.M. to 4:00
    filed at this address. You may                                                                                 P.M.
    inspect all records filed in this case
    at this office or online at
    https://pacer.uscourts.gov.                                                                                    Contact phone (215)408−2800

                                                                                                                   Date: 11/16/22


7. Meeting of creditors                      December 15, 2022 at 10:30 AM                                        Location: Section 341 Meeting will
    The debtor's representative must                                                                              be conducted by telephone.
    attend the meeting to be                 The meeting may be continued or adjourned to a later date. If        Please consult the docket or
    questioned under oath. Creditors         so, the date will be on the court docket.                            contact the trustee appointed to
    may attend, but are not required to                                                                           the case for access or call−in
    do so.                                                                                                        information.
8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                      page 1
